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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES – GENERAL

 Case No.        CV 18-3325 MWF (ASx)                                       Date: September 5, 2019
 Title       Amazon Content Services, LLC, et al. v. Set Broadcast, LLC, et al.


 Present: The Honorable:      MICHAEL W. FITZGERALD, United States District Judge
                    Rita Sanchez                                        Not Reported
                    Deputy Clerk                                  Court Reporter / Recorder

         Attorneys Present for Plaintiffs:                 Attorneys Present for Defendants:
                  Not Present                                        Not Present

 Proceedings: (IN CHAMBERS) ORDER TO SHOW CAUSE

        On April 17, 2019, the Court granted the Motion for Withdrawal of Joseph
 Shapiro as Counsel for Defendants (“Withdrawal Order”). (Docket No. 45).
 Pursuant to the Withdrawal Order, the Court permitted Joseph Shapiro to withdraw
 as attorney of record for Defendants Jason Labossiere and Nelson Johnson;
 Defendants Labossiere and Johnson could either retain new counsel by May 13,
 2019, or “be prepared for the case to go forward representing themselves.” The
 Court notes that the docket in this case reflects only a mailing address for Nelson
 Johnson; no address was provided for Jason Labossiere.

       On September 4, 2019, Plaintiffs filed a Status Report and Request for
 Briefing Schedule and Guidance Re Notice Procedure for Motion for Default
 Judgment (“Status Report”). (Docket No. 61). Plaintiffs allege that Defendants
 Labossiere and Johnson have refused to participate in the litigation; Plaintiffs have
 been unable to schedule Defendants’ depositions or move this case toward
 resolution. Defendants Labossiere and Johnson have not retained counsel.

       The Court now ORDERS Defendants Jason Labossiere and Nelson Johnson
 to provide the following, in writing, no later than September 18, 2019:

             Defendants’ full mailing addresses and telephone numbers;
              Defendants may also provide their email addresses.



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        The Court further ORDERS Defendants Jason Labossiere and Nelson
 Johnson to SHOW CAUSE, in writing, no later than September 18, 2019 why the
 Court should not strike their Answer to Complaint, filed June 18, 2018 (Docket
 No. 18), and order the immediate entry of default as to these Defendants for failure
 to participate in the litigation of this matter.

       If Defendants fail to provide their mailing addresses and telephone numbers,
 and fail to respond to the Order to Show Cause, the Court will strike the Answer to
 Complaint (Docket No. 19) and order the Clerk of Court to enter default as to
 Defendants Labossiere and Johnson on September 19, 2019. Plaintiffs will then
 be permitted to file a Motion for Default Judgment.

      The Court has mailed a copy of this Order to Show Cause to Defendants
 Labossiere and Johnson at the address of record for Nelson Johnson.

       No oral argument on this matter will be heard unless otherwise ordered by
 the Court. See Fed. R. Civ. P. 78; Local Rule 7-15. The Order will stand
 submitted upon the filing of the response to the Order to Show Cause.

         IT IS SO ORDERED.

                                                                  Initials of Preparer: RS/sjm




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